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                                    STATEMENT OF FACTS

        Your affiant is a Special Agent with the Federal Bureau of Investigation (FBI) and has been
so employed since 2014. During that time, I have investigated corruption of local and federal
officials, fraud against the government, bribery, threat to life cases, and violations of Color of Law
and Civil Rights as a part of the FBI Washington Field Office Public Corruption and Civil Rights
program. I have prepared and assisted in the preparation of court orders and search warrant
applications. Additionally, during the course of these and other investigations, I have conducted
or participated in physical and electronic surveillance, assisted in the execution of search and arrest
warrants, debriefed informants, interviewed witnesses and suspects, and reviewed other pertinent
records. Through my training, education, and experience, I have become familiar with the efforts
of persons involved in criminal activity to avoid detection by law enforcement. I am assisting in
the investigation and prosecution of events which occurred at the U.S. Capitol on January 6, 2021.

       The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is secured 24
hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol include permanent and
temporary security barriers and posts manned by U.S. Capitol Police. Only authorized people with
appropriate identification are allowed access inside the U.S. Capitol.

       On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the U.S.
Capitol. During the joint session, elected members of the United States House of Representatives
and the United States Senate were meeting in separate chambers of the United States Capitol to
certify the vote count of the Electoral College of the 2020 Presidential Election, which had taken
place on November 3, 2020. The joint session began at approximately 1:00 p.m. Shortly thereafter,
by approximately 1:30 p.m., the House and Senate adjourned to separate chambers to resolve a
particular objection. Vice President Mike Pence was present and presiding, first in the joint session,
and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At approximately 2:00 p.m., certain individuals in the crowd forced their way through, up,
and over the barricades, and officers of the U.S. Capitol Police, and the crowd advanced to the
exterior façade of the building. The crowd was not lawfully authorized to enter or remain in the
building and, prior to entering the building, no members of the crowd submitted to security
screenings or weapons checks by U.S. Capitol Police Officers or other authorized security
officials.

      At such time, the certification proceedings still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
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attempted to maintain order and keep the crowd from entering the Capitol; however, shortly after
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

        Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, all proceedings
of the United States Congress, including the joint session, were effectively suspended until shortly
after 8:00 p.m. the same day. In light of the dangerous circumstances caused by the unlawful entry
to the U.S. Capitol, including the danger posed by individuals who had entered the U.S. Capitol
without any security screening or weapons check, Congressional proceedings could not resume
until after every unauthorized occupant had left the U.S. Capitol, and the building had been
confirmed secured. The proceedings resumed at approximately 8:00 p.m. after the building had
been secured. Vice President Pence remained in the U.S. Capitol from the time he was evacuated
from the Senate Chamber until the session resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

       On January 7, 2021, law enforcement received a copy of an electronic video which appears
to have been taken from a user’s cellphone or computer, and which depicts an individual who I
believe to be Peter Harding, standing inside of a house. A still screenshot from the video is below.




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        I have reviewed the video, which is over an hour in length, in its entirety. In the video,
Harding discusses what happened “yesterday,” i.e., January 6, 2021. Harding notes that he has “it
all on video…All of it. Everything.” Later in the video, Harding states, “We learned how strong
we are. We learned how strong our voices are. We learned how strong our numbers are. If we can
take the Capitol building, there is nothing we can’t accomplish - county government, city
government, town government, state government.” Harding later states again, “I was there, I’ve
got it all on video.” Harding further states, “We did what we needed to do. We made our
point…and we got out.” Harding also states that “none of this” was “orchestrated.” Harding ends
the video by thanking the “Marching Patriots for organizing it.” Harding notes that his “phone”
(presumably a phone used to record the video) was dying. At various other points in the video,
Harding states, among other things, that he attempted to calm people down, and that he “left his
phone inside [Individual 1] and [Individual 2]’s vehicles yesterday.” He then references “getting
my phones charged” to do a “longer” video.

        I have reviewed other publicly available social media posts that I believe show Harding
near or in the U.S. Capitol Building during the events of January 6, 2021. Specifically, I have
reviewed a publicly posted screen shot showing a person identified as “Pete Harding.” I believe
this person to be the same individual seen in the video discussed in the previous paragraph. The
screen shot is below:




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        I have also reviewed a video posted on social media showing a bald man wearing a maroon
hoodie, similar to the one above. I believe the person in this video to be Harding. In the video,
Harding and another individual can be seen walking around a pile of destroyed camera equipment
in front of the U.S. Capitol building as other individuals shout, “CNN Sucks. CNN Sucks.” At one
point in the video, Harding is seen from behind, leaning down towards the camera equipment. A
still image from that video is shown below:




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       I have reviewed another photo, which I believe to be of Harding, which was posted on a
publicly available social media. I believe the photo shows Harding during the same event described
in the previous paragraph. In the photo, Harding appears to be attempting to light camera
equipment on fire. A copy of the photo is below:




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       I have reviewed another video posted on social media that appears to show Harding. The
video, which is 24 seconds in length and dated January 6, 2021, shows a group of people inside a
room, that I believe based on my experience with this investigation, to be a room in the U.S. Capitol
building. In the video, a group of individuals is heard repeatedly shouting, “America First!” At
approximately 18 seconds into the video, Harding is seen walking in front of the camera. Harding
also appears to be using his own camera to film the events. A still image of the video is below:




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        On January 8, 2021, the Buffalo News published an article entitled “Cheektowaga man set
fire     outside,    entered     Capitol       during      Washington       insurrection.” See
https://buffalonews.com/news/cheektowaga-man-set-fire-outside-entered-capitol-during-
washington-insurrection/article_d5a6166a-51dd-11eb-97f8-cb5e3003b834.html (last visited Jan.
10, 2021). According to the article, Harding acknowledged that he entered the U.S. Capitol for
approximately 40 minutes on January 6, 2021. Harding also acknowledged that he attempted to
light media equipment on fire. Specifically, the story quotes Harding as stating:

               We took the rest of the media equipment that was there. We put it
               into a pile. That was a symbolic gesture. Nothing burned. It was
               metal. It was far from any structure. It was nowhere near the Capitol
               Building. It was nowhere near a tree. It wasn’t even on grass, that
               could be lit on fire. There was a plastic bag. I had a Bic lighter and
               that was it. It was symbolism.

         Based on the foregoing, your affiant submits that there is probable cause to believe that
Peter Harding violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly
enter or remain in any restricted building or grounds without lawful authority to do; and (2)
knowingly, and with intent to impede or disrupt the orderly conduct of Government business or
official functions, engage in disorderly or disruptive conduct in, or within such proximity to, any
restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
orderly conduct of Government business or official functions; or attempts or conspires to do so.
For purposes of Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off,

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